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          SUPPLEMENTAL QUESTIONS FOR JUROR QUESTIONNAIRE
      (to be added to Doc. No. 1029-1, as modified by the Court at the June 7, 2021
                                        hearing)




[X]. Are you familiar with Attorney General Mark Brnovich? (The United States
objects to this question and the follow-up question as irrelevant, misleading and
confusing. The Arizona Attorney General’s Office and the Arizona Attorney
General have had no involvement with the investigation or prosecution of this
federal criminal case; they have not appeared in this case; and they are not
representing any parties or witnesses in this case.)
         YES          NO


        If YES, please explain your views on his service and priorities:




                          THE COVID-19 HEALTH EMERGENCY

15.    Have you received one of the COVID-19 vaccines? (The United States does not
object.)
         YES, I am fully vaccinated               YES, but I have one more shot to get
         NO, but I plan to be vaccinated          NO, I do not want to be vaccinated


               EDUCATION, SPECIALIZED TRAINING OR EXPERIENCE

49.     In general, what are your feelings about business owners and operators seeking the
        advice of attorneys about what is legal or not legal to do in their business? (The
        United States objects. Defendants have neither asserted nor disclosed the intent
        to rely on an advice of counsel defense. Thus, this question is not relevant.)




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51.   Do you, any members of your family, or close friends support or participate in any
      groups or organizations that focus on promoting social justice, political activism, or
      police or corporate accountability? (The United States objects. The question is
      vague, overbroad and ambiguous. In addition, the issues raised in this question
      are not implicated in the case.)
       YES, SELF       YES, FAMILY          YES, CLOSE FRIEND            NO


      If YES, name the group or organization and describe your involvement, including
      any leadership role:




53.   Do you, any member of your family, or close friends support, volunteer, donate to,
      belong to or work for the organization, Save The Children? (Without more, the
      United States objects. It is unclear why this specific charitable organization is
      singled out.)

       YES          NO
      If YES, please explain.




54.   Do you, any member of your family, or close friends support, volunteer, donate to,
      belong to or work for the group, QAnon? (The United States takes no position on
      this question.)

       YES          NO
      If YES, please explain.




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